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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA,
                                                           Criminal No. 21-cr-626
            v.
                                                           STATUS REPORT REGARDING CHOICE
                                                           OF TRIAL BY JURY OR BENCH TRIAL
    DEREK COOPER GUNBY,

                            Defendant.


           NOW comes Defendant, Derek Cooper Gunby, by and through his counsel of record, John

M. Pierce, Esq., with this Status Report Regarding Gunby’s Choice of Trial by Jury or Bench Trial,

in response to the Court’s September 8, 2022 MINUTE ORDER.

           Gunby waives his right to jury trial in the District of Columbia and opts for a bench trial

before the District Court. 1 We understand the United States does not oppose.


Date: September 19, 2022                            Respectfully Submitted,



                                                    John M. Pierce
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                                                    Attorney for Defendant




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    The Defendant Derek Gunby expects to file a motion to change venue within the next 10 days seeking the
    transfer of this case to Defendant’s home district and the locale of Gunby’s arrest, the District of South
    Carolina, Greenville division. If such motion is granted, Gunby requests trial by a jury drawn from a
    cross-section of the community in South Carolina. Additionally, if such motion is granted, the number of
    potential jurors requested to be summoned may be significantly different (i.e., smaller) than the number
    requested to be summoned – and corresponding peremptory challenges – in the District of Columbia
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                               CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, September 19, 2022, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                                 /s/ John M. Pierce
                                            John M. Pierce




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